     Case 17-25606-JNP            Doc 72     Filed 09/11/19 Entered 09/11/19 10:18:48                       Desc Main
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1(b)

PHELAN HALLINAN DIAMOND & JONES, PC
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Philadelphia, PA 19103
856-813-5500
Attorneys for Quicken Loans Inc.                                                       Order Filed on September 11,
                                                                                       2019 by Clerk U.S. Bankruptcy
In Re:                                                           Case No: 17-25606 - JNP
                                                                                      Court District of New Jersey

LARUE SMITH                                                      Hearing Date: September 3, 2019

                                                                 Judge: Jerrold N. Poslusny Jr.




                  Recommended Local Form:                      Followed                             Modified


      ORDER RESOLVING MOTION TO VACATE STAY AND/OR MOTION TO DISMISS WITH CONDITIONS

      The relief set forth on the following pages, numbered two (2) through four (4) is hereby ORDERED.




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Applicant:                                  Quicken Loans Inc.
Applicant’s Counsel:                        Phelan Hallinan Diamond & Jones, PC
Debtor’s Counsel:                           Seymour Wasserstrum, Esquire
Property Involved (“Collateral”):           1125 East Park Avenue, Vineland, NJ 08360-3323


Relief sought:                 Motion for relief from the automatic stay
                                  Motion to dismiss
                                Motion for prospective relief to prevent imposition of automatic stay against the
                            collateral by debtor’s future bankruptcy filings


For good cause shown, it is ORDERED that Applicant’s Motion(s) is (are) resolved, subject to the following
conditions:
     1.       Status of post-petition arrearages:


             The Debtor is overdue for 7 months, from February 1, 2019 to August 1, 2019.


             The Debtor is overdue for 4 payments at $1,183.65 per month.


             The Debtor is overdue for 3 payments at $1,204.44 per month.


             The Debtor is assessed for           late charges at $    per month.


             Applicant acknowledges suspense funds in the amount of $_____.

          Total Arrearages Due $8,347.92



2.        Debtor must cure all post-petition arrearages, as follows:

             Immediate payment shall be made in the amount of $            . Payment shall
          be made no later than         .


             Beginning on September 1, 2019, regular monthly mortgage payments shall continue to be made.


             Beginning on           , additional monthly cure payments shall be made in the amount of $        for
                 months.


             The amount of $8,347.92 shall be capitalized in the debtor’s Chapter 13 plan. Said amount shall be set
          up on Trustee’s ledger as a separate Claim. Debtor(s) shall file a Modified Plan within 10 days from the
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         entry of this Order to account for the additional arrears to be paid to the secured creditor via Chapter 13
         Plan and to adjust monthly payments to the Chapter 13 Trustee accordingly.



3.       Payments to the Secured Creditor shall be made to the following address(es):

     Immediate payment:




     Regular Monthly payment:

Quicken Loans, Inc.
635 Woodward Ave.,
Detroit, MI 48226


     Monthly cure payment:




4.       In the event of Default:


               Should the Debtors fail to make any of the above captioned payments, or if any regular monthly
           mortgage payment commencing after the cure of the post petition delinquency is more than thirty (30)
           days late, counsel shall file a Certification of Default with the Court, a copy of the Certification shall be
           sent to the Chapter 13 Trustee, the Debtors, and Debtors’ attorney and the court shall enter an Order
           granting relief from the Automatic Stay


                In the event the Debtors converts to a Chapter 7 during the pendency of this bankruptcy case,
           the Debtors shall cure all arrears within ten (10) days from the date of conversion in order to bring
           the loan contractually current. Should the Debtors fail to bring the loan contractually current,
           counsel shall file a Certification of Default with the Court, a copy of the Certification shall be sent
           to the Chapter 13 Trustee, the Debtors, and Debtors’ attorney and the court shall enter an Order
           granting relief from the Automatic Stay


                This agreed order survives any loan modification agreed to and executed during the instant
           bankruptcy. If any regular mortgage payment due after the execution of a loan modification is more than
           thirty (30) days late, counsel shall file a Certification of Default with the Court, a copy of the Certification
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       shall be sent to the Chapter 13 Trustee, the Debtors, and Debtors’ attorney and the court shall enter an
       Order granting relief from the Automatic Stay




5.    Award of Attorneys’ Fees:

         The Applicant is awarded attorney’s fees of $500.00, and costs of $181.00.

              The fees and costs are payable:

                  Through the Chapter 13 plan. These fees/costs shall be set up as a separate claim to be paid by
                 the Standing Trustee and shall be paid as an administrative claim.

                  to the Secured Creditor within        days.

                  Attorneys’ fees are not awarded.

6.    This Agreed Order survives any loan modification agreed to and executed during the instant bankruptcy.
